                               ***********
Upon review of the record, including the pleadings from the Industrial Commission file, with reference to the errors assigned, and finding no good grounds to receive further evidence, or to rehear the parties or their representatives, the Full Commission upon reconsideration of the record and pleadings, affirms and adopts, with minor modifications, the Special Deputy Commissioner's Decision and Order and enters the following Decision and Order.
                               ***********
Based upon the competent evidence of record, the Full Commission enters the following:
                            FINDINGS OF FACT
1. On August 19, 2009, Plaintiff initiated this civil action by filing his Tort Claims Affidavit with the North Carolina Industrial Commission. *Page 2 
2. Plaintiff's alleges that he was burned by water dripping from a cooking pot that was defective. At the time of the accident, Plaintiff was on work duty with the North Carolina Department of Corrections (hereinafter "NCDOC").
3. On October 13, 2009, Defendant filed a Motion to Dismiss and Motion for Stay of Discovery.
4. Defendant moved to dismiss the action on the grounds that the Workers' Compensation Act provides the exclusive remedy for Plaintiff's injury sustained while at work with the NCDOC.
                               ***********
Based upon the foregoing Findings of Fact, the Full Commission enters the following:
                           CONCLUSIONS OF LAW
1. N.C. Gen. Stat. § 143-291(a) confers upon the North Carolina Industrial Commission jurisdiction to hear negligence claims against the State Board of Education, the Board of Transportation, and all other departments, institutions and agencies of the State.
2. "[T]he exclusive source of remedy for a prisoner injured while working is through the Workers' Compensation Act."Richardson v. N.C. Dep't of Correction,345 N.C. 128, 137, 478 S.E.2d 501, 507 (1996). So long as a plaintiff has sustained accidental injury "arising out of and in the course of the employment" to which the inmate was assigned, such injury is compensable under the Workers' Compensation Act. N.C. Gen. Stat. § 97-13(c); see also Roman v. SouthlandTransp. Co., 350 N.C. 549, 551-52, 515 S.E.2d 214, 216 (1999)
3. Because Plaintiff's alleged injuries clearly arose out of and in the course of his assigned work duty, he is barred from recovery under the Tort Claims Act. Richardson, *Page 3 345 N.C. at 137, 478 S.E.2d at 507. Therefore, Plaintiff is not entitled to recover under the Tort Claims Act, and the above captioned tort claim is subject to dismissal with prejudice.
                               ***********
Based upon the foregoing Findings of Fact and Conclusion of Law, the Full Commission enters the following:
                                  ORDER
1. Defendant's Motion to Dismiss is GRANTED and Plaintiff's above captioned tort claim is hereby DISMISSED WITH PREJUDICE.
2. No costs are taxed as Plaintiff was permitted to file this civil action in forma pauperis.
This the 13th day of August, 2010.
  S/___________________
  BERNADINE S. BALLANCE
  COMMISSIONER
CONCURRING:
  S/___________________ STACI T. MEYER COMMISSIONER
  S/___________________ DANNY L. McDONALD COMMISSIONER *Page 1 